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                        EXHIBIT Q
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      EDMUND G. BROWN JR.                                  HANSON BRIDGETT MARCUS
      Attorney General of the State of California          VLAHOS & RUDY, LLP
  2   DAVID S. CHANEY                                      JERROLD C. SCHAEFER - 39374
      Chief Assistant Attorney General                     PAUL B. MELLO - 179755
  3   FRANCEST.GRUNDER                                     425 Market Street, 26th Floor
      Senior Assistant Attorney General                    San Francisco, CA 94105
  4   ROCHELLE C. EAST                                     Telephone: (415) 777-3200
      Supervising Deputy Attorney General                  Facsimile: (4]5) 541-9366
  5   LISA A. TILLMAN - State Bar No. 126424               j schaefer@hansonbridgett.com
      Deputy Attorney General                              pmello@hansonbridgett.com
  6   SAMANTHA TAMA - State Bar No. 240280
      Deputy Attorney General
  7   455 Golden Gate Avenue, Suite 11000
      San Francisco, CA 94102-7004
                                                                   RECEIVED
  8   Telephone: (415) 703-5708
      Facsimile: (415) 703-5843                                     NOV 142007
  9   rochelle.east@doj.ca.gov
      lisa.tillman@doj.ca.gov
 10   samantha.tama@doj.ca.gov
                                                             Rosen, Bien & Galvan
 II   Attorneys for Defendants

 12                               UNITED STATES DISTRICT COURT
 13                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 14                     AND THE NORTHERN DISTRICT OF CALIFORNIA
 15           UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 16               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 17   RALPH COLEMAN, et al.,                         No. 2:90-cv-00520 LKK JFM P

 18                 Plaintiffs,                      THREE-JUDGE COURT
 19          v.
 20   ARNOLD SCHWARZENEGGER, et al.,
 21                 Defendants.
 22                                                  No. COI-1351 THE
      MARCIANO PLATA, et aI.,
 23                                                  THREE-JUDGE COURT
                    PlaintilTs.
 24
             v.
                                                     DEFENDANT JAMES E. TILTON'S
 25                                                  RESPONSES TO PLAINTIFF MARCIANO
      ARNOLD SCHWARZENEGGER, et aL
                                                     PLATA'S FIRST SET OF
 26                 Defendants.                      INTERROGATORIES
 27

 28

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      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
                                                                                             J 376652.3
      00520 LKK JFM P AND COI-OI351 TEH)
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      PROPOUNDING PARTY:                  Plaintiff MARCIANO PLATA

  2   RESPONDING PARTY:                   Defendant JAMES E. TILTON

  3   SET NUMBER:                         ONE

  4                                                       DEFINITIONS

  5           In construing these discovery responses, the following definitions shall apply:

  6           1.       "PLAINTIFFS" shall mean class representatives Marciano Plata (sic), et. aL the

  7   named PLAINTIFFS in the action Plata v. Schwarzenegger, Case No. C 01 1351 TEH (N.D.

  8   Cal.) (Plata).

  9           2.       "DEFENDANT" shall mean James Tilton, a named defendant in Plata.
              ..,
 10           Y.       "DEFENDANTS" shall mean each of the named DEFENDANTS in Plata.

 II           4.       "PROCEEDING" shall mean the three-judge panel proceeding convened under 28

 12   U.S.C. Section 2284 in the cases of Coleman v. Schwarzenegger, Case No. 90-0520 LKK JFM

 13   (E.D. Cal.) (Coleman) and Plata.

 14                    PRELIMINARY STATEMENT AND GENERAL OBJECTIONS

 15           1.       DEFENDANTS have not completed their investigation of the facts relating to this

 16   case, have not completed their discovery in this action and have not completed their preparation

 17   for trial. This case is in an early stage of discovery. As of the date of DEFENDANTS' response.

 18   PLAINTIFFS have only identified a fraction of the documents that will be produced to

 19   DEFENDANTS, and have not yet provided many, if any, substantive discovery responses.

 20   Therefore, these responses, while based on diligent factual exploration, reflect only

 21   DEFENDANTS' current state of knowledge, understanding, and belief with regard to the matters

 22   about which inquiry has been made. DEFENDANTS reserve the right to supplement these

 23   responses with subsequently obtained or discovered information. With regard to each

 24   Interrogatory, DEFENDANTS reserve the right, notwithstanding these answers and responses, to

 25   employ at trial or in any pretrial proceeding herein information subsequently obtained or

 26   discovered, information the materiality of which is not presently ascertained, or information

 27   DEFENDANTS do not regard as coming within the scope of the Interrogatories as

 28   DEFENDANTS understand them.

                                ...   ~---~-   ---- _._---- .. -- - 2 -
                                                                ._---~-~~--_._-------------~~-----_         ..   _~-_._---




      DEF. TILTON'S RESP. TO PLATA"S FIRST SET OF INTERROGATORIES (CASE NOS 90-
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              2.     These responses are made solely for the purpose of this action. Each answer is

  2   subject to all objections to competence, relevance, materiality, propriety, admissibility, privacy,

  3   privilege, and any and all other objections that would require exclusion of any statement

  4   contained herein if any such Interrogatories were asked of, or any statement contained herein

  5   were made by, a witness present and testifying in court, all of which objections and grounds are

  6   reserved and may be interposed at the time of trial.

  7           3.     Except for explicit facts admitted herein, no incidental or implied admissions are

  8   intended hereby. DEFENDANTS' answers or objections to any interrogatory are not an

  9   admission of any fact set forth or assumed by that interrogatory. In addition, each of

 10   DEFENDANTS' answers to an Interrogatory or part of any Interrogatory is not a waiver of part

 11   or all of any objection he or it might make to that form of interrogatory, or an admission that such

 12   answer or objection constitutes admissible evidence. DEFENDANTS assert these objections

 13   without waiving or intending to waive any objections as to competency, relevancy, materiality ot

 14   privilege.

 15           4.     DEFENDANTS object to each and every Interrogatory to the extent that

 16   PLAINTIFFS are requesting information that is privileged pursuant to the attorney-client

 17   privilege, the work-product doctrine, the deliberative process privilege, the right to privacy, or

 18   any other applicable privilege or doctrine. DEFENDANTS object to the Instructions provided by

 19   PLAINTIFFS insofar as they specifically call for information protected by the attorney-client

 20   privilege and work-product doctrine.

 21           5.     DEFENDANTS object to each and every Interrogatory to the extent that

 22   PLAINTIFFS are requesting information that is neither relevant to the subject matter of this

 23   action nor reasonably calculated to lead to the discovery of admissible evidence.

 24           6.     DEFENDANTS object to the Interrogatories to the extent that they seek

 25   information available to PLAINTIFFS through public sources or records, and on the grounds that

 26   they subject DEFENDANTS to unreasonable and undue annoyance, oppression, burden and

 27   expense. DEFENDANTS further object to the Interrogatories to the extent that such

 28   Interrogatories are unduly burdensome because much or all of the information requested in the
                                                      -3-
      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
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      00520 LKK JFM P AND CO 1-0 135) TEH)
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      Interrogatories is in the possession of PLAINTIFFS, has been filed with the Court, or is otherwise

  2   equally or more available to PLAINTIFFS than to DEFENDANTS.

  3          7.      DEFENDANTS object that the discovery seeks information outside of

  4   DEFENDANTS' control. To the extent the discovery seeks information known only to the

  5   Receiver appointed in PlaIa. PLAINTIFFS should direct said discovery to the Receiver and not

  6   DEFENDANTS.

  7          8.      DEFENDANTS object to the Interrogatories to the extent that they are vague and

  8   ambiguous and do not include adequate definition, specificity, or limiting factors.

  9          9.      DEFENDANTS object generally to each Interrogatory to the extent that it seeks

 10   information prepared by expert consultants. DEFENDANTS will disclose their experts and serve

 11   the reports of experts on November 9, 2007, as required by the Three-Judge Court's October 10

 12   2007 Order Bifurcating Proceedings and Setting Deadlines for Phase. I. Many of PLAINTIFFS'

 13   Interrogatories request information that will be provided in whole or in part by expert testimony.

 14           10.    DEFENDANTS object generally to each Interrogatory that involves an opinion or

 15   contention that relates to fact or the application of law to fact upon the ground that such

 16   Interrogatories are premature and inappropriate until after discovery has been completed.

 17   DEFENDANTS moreover object to PLAINTIFFS' contention Interrogatories because they are

 18   unduly burdensome, oppressive, and especially inappropriate at this early state in the discovery

 19   process.

 20           11.    DEFENDANTS object to the Definitions provided by PLAINTIFFS, including the

 21   term "PRISONER RELEASE ORDER." This term is defined by reference to the statutory

 22   definition. The statute has rarely, if ever, been interpreted by the federal courts, and the question

 23   of whether a particular order is a "Prisoner Release Order" depends on a range of complex factual

 24   and legal elements, including deciding whether an order "has the purpose or effect" of "reducing

 25   or limiting population" or "directing the release from or non-admission of prisoners."

 26                               RESPONSES TO INTERROGATORIES

 27          Subject to the foregoing qualifications and general responses and o~jections. Defendant

 28   Tilton objects and responds to PLAINTIFFS' Interrogatories, Set One as follows:
                                                      -4-
      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
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      00520 LKK JFM P AND COI-01351 TEH)
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      RESPONSE TO INTERROGATORY NO.9:

  2          In addition to the General Objections stated above, which are incorporated herein,

  3   DEFENDANTS object to this interrogatory on the grounds that it is vague and ambiguous as to

  4   the terms "obstacles" and "barriers." DEFENDANTS additionally object that this request as it

  5   seeks information that is not reasonably available to DEFENDANTS as this interrogatory should

  6   be propounded on the Receiver. In addition, DEFENDANTS object to this interrogatory to the

  7   extent it seeks information covered by the attorney-client privilege or work-product doctrine.

  8   DEFENDANTS additionally object to this interrogatory to the extent it seeks early disclosure of

  9   DEFENDANTS' experts. DEFENDANTS will disclose experts as required by this three-judge

 10   court. Finally, DEFENDANTS object that this interrogatory seeks information directed at phase

 1I   two issues as bifurcated by this Court. Subject to and without waiving the f()regoing objections.

 12   DEFENDANTS respond as follows:

 13          As set forth in response to interrogatory numbers 6, 7 and 8, DEFENDANTS believe that

 14   the Plata Court has already issued less intrusive orders to a PRISONER RELEASE ORDER,

 15   including the Orders appointing the Receiver and granting the Receiver's requests for waivers of

 16   State law. DEFENDANTS believe that these orders will eventually, with adequate time, allow

 17   the Receiver and CDCR to develop a constitutionally adequate medical care delivery system. The

 18   PLAINTIFFS should propound this interrogatory on the Receiver to determine whether the

 19   Receiver believes additional waivers of State law will be necessary to overcome any barriers.

 20   INTERROGATORY NO. 10:

 21          IDENTIFY each action. program, policy or procedure that YOU have adopted since

 22   October 2006 that YOU contend will limit or reduce the number of PLATA CLASS MEMBERS

      housed in COCR PRISONS.

 24   RESPONSE TO INTERROGATORY NO. 10:

 25          In addition to the General Objections stated above, which are incorporated herein,

 26   DEFENDANTS object to this interrogatory on the grounds that it is vague and ambiguous as to

 27   the terms "action," "program," "policy," "procedure," "limit," and "reduce." In addition,

 28   DEFENDANTS object to this interrogatory to the extent it seeks information covered by the
                                                    - 16-
      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
                                                                                                  13766523
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      attorney-client privilege or work-product doctrine. Finally, DEFENDANTS object that this

  2   interrogatory seeks information directed at phase two issues as bifurcated by this Court. Subject

  3   to and without waiving the foregoing objections, DEFENDANTS respond as follows:

  4   The State is working on many fronts to reduce overcrowding in California's Prisons. The

  5   Governor and the Legislature recently approved a historic, bipartisan plan to reduce prison

  6   overcrowding, increase rehabilitation programs, and provide more beds for all inmates, including

  7   those requiring medical care. Assembly Bill 900, signed in May 2007, creates a comprehensive

  8   plan to immediately relieve overcrowding by providing for additional out-of-state inmate

  9   transfers (CDCR anticipates transferring 8,000 inmates by March 2009, to date approximately

 10   1,722 inmates have been transferred), as well as the construction of 40,000 prison beds including

 II   much-needed medical beds, in addition to approximately 13,000 new jail beds. AB 900 also

 12   provides for new rehabilitation programs and re-entry facilities to ease parolees' transition back

 13   into California communities, thereby reducing recidivism, relieving prison overcrowding, and

 14   ensuring public safety. AB 900's comprehensive plan and CDCR's parole reforms effectively

 15   address prison overcrowding without encouraging or causing the early release of dangerous

 16   criminals.

 17          The Governor also established two strike teams -- one for construction and another lor

 18   rehabilitation -- to expedite the implementation of AB 900's mandates, including construction and

 19   the improvement of programs for rehabilitation, substance abuse, education, and job training.

 20   These strike teams will report to the Governor's Cabinet to ensure that AB 900's reforms are

 21   successful and swift. CDCR is also immediately implementing administrative parole changes that

 22   reward successful rehabilitation, which will further reduce overcrowding. In short, the Governor

 23   is committed not only to prison reform, but to the long-term management efforts that are needed

 24   to ensure that the reforms are successful.

 25          Phase I of AB 900 provides for 7,484 in-fill beds at existing enumerated prisons, plus an

 26   additional 4,516 in-fill beds once site assessments have been done for other facilities, for a total

 27   of 12,000 Phase I in-fill beds. AB 900 specifies that the purpose of the infill beds is to replace the

 28   non-traditional beds currently in use. Phase I also provides for 6,000 re-entry beds and 6,000
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      DEF. TILTON'S RESP. TO PLA rA'S FIRST SET OJ' INTERROGATORIES (CASE NOS. 90-
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      medical, dental, and mental health beds. The construction of all Phase I beds will total 24,000

  2   beds. Phase II of AB 900 provides for an additional 4,000 in-fill beds; 2,000 medical, dental, and

  3   mental health beds; and 10,000 re-entry beds. The construction of all Phase II beds will total

  4   6,000 beds. However, AB 900 specifies that funds for Phase II construction shall not be released

  5   unless specific enumerated progress in construction, rehabilitation programs, management

  6   planning, and parole review has been confirmed by a panel consisting of the State Auditor, the

  7   Inspector General and an appointee of the Judicial Council of California. AB 900 also provides

  8   for construction of approximately 13,000 county jail beds.

  9          AB 900 ties prison bed construction to rehabilitation, requiring that each new bed have

 10   appropriate programming for inmates, including education, vocational programs, substance abuse

 II   treatment programs, employment programs. and pre-release planning. These programs will

 12   address overcrowding by reducing the recidivism rate.

 13          AB 900 also requires COCR to develop and implement, by January IS, 2008, a plan to

 14   address management deficiencies within the department. Among other things, the plan must

 15   address (1) filling vacancies in management positions, (2) improving accountability, (3)

 16   standardizing processes to improve management, (4) improving communications within the

 17   Department, and (5) developing and implementing more comprehensive plans for management of

 18   the prison and parole populations. AB 900 authorizes CDCR to contract with outside

 19   management experts to assist in identifying and addressing deficiencies.

 20          The management assessment and plan required by AB 900 is not Defendants' only tool

 21   for addressing management and administrative concerns. The Governor has already established

 22   two expert strike teams - one for facilities and one for rehabilitation-composed of numerous

 23   experts from universities, community organizations. and state government to ensure that

 24   California's prisons are managed effectively and that bed construction and rehabilitation

 25   programs are implemented expeditiously.

 26          The Facilities Construction Strike Team will restore COCR's major project management

 27   capability and will work to expedite in-fill, re-entry, medicalldentallmental-health, and jail beds

 28   authorized by AB 900. The Facilities Construction Strike Team will (l) consider all available
                                                     - 18 -
      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
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            options for housing inmates and improving inmate housing, (2) evaluate alternative construction
            methods, (3) work to overcome impediments to expedited construction, and (4) work with local
            communities impacted by prison facilities.
                    At the same time, the Rehabilitation Strike Team will provide expertise on creating and

            expediting the implementation of rehabilitation programs. Such programs are integral to
        6   increasing successful community re-entry and reducing recidivism. The Rehabilitation Strike
        7   Team will be responsible for (1) assessing existing CDCR rehabilitation programs and space, (2)
        8   designing an integrated rehabilitation services delivery plan for inmates and parolees which
        9   includes substance abuse treatment, education, job training, counseling, and life skills, (3)
    10      developing a plan for inmate job training, (4) quickly implementing inmate intake and prerelease
    11      needs assessment tools, (5) developing incentives for program     participation: (6) developing a plan
    12      to immediate, ly reduce the number of lockdown days so that inmates can participate in
    13      rehabilitative programming; and (7) developing the $50 million in rehabilitation and treatment
    14      funds that are authorized by AB 900. The Rehabilitation Strike Team expects to reduce
   15       recidivism  by 10%, which would eliminate 8,100 prison returns in a single year.
   16               The construction of 16,000 in-fill beds will provide additional capacity at existing prisons
   17       in a way that ensures proper facilities, support, and services. Creating in-fill beds will not require
   18       the construction of new prisons; rather, there will be construction of new facilities at existing
   19       prisons. In-fill beds, like the out-of-state transfer of inmates, will eliminate non-traditional beds
  20        and provide better care and services for inmates.
   21                 The Facilities Construction Strike Team will expedite construction. As required by AB
   22       900, these beds will be constructed to lhlly integrate rehabilitative programs into the new
   2•.3     facilities. The Facilities Construction Strike Team will work to finish construction as quickly as
   24       possible, but at a minimum it is expected that construction of the 12,000 Phase in-fill beds will
   25       be completed in 2009. As new in-fill beds are constructed, AB 900 mandates the reduction in a
   26       proportionate number of non-traditional beds until non-traditional bed use is entirely eliminated.
   27                 AB 900 also provides for the creation of 16,000 re-entry beds. The {bcused of the reentry
   28       beds is to provide rehabilitation services and prepare inmates for re-entry into society. These
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            DEF. T.ILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
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      beds will be located in small, secured facilities (500 inmates maximum per facility) operated by

  2   COCR. The facilities wili be located close to established communities to better serve their

  3   rehabilitative and re-entry mission. The Facilities Construction Strike Team will expedite the

  4   construction of 6,000 Phase I re-entry beds.

  5          AB 900 states that a total of 8,000 medical/mental health beds will be created. The

  6   Facilities Construction Strike Team will expedite construction ofthese beds to bring them on line

  7   as soon as possible. Defendants are coordinating construction of medical and mental health beds

  8   coordination with the Receiver.

  9          Parole reform strategies will also playa large role in the reduction of prison

 10   overcrowding. In tandem with the implementation of AB 900, CDCR has launched a set of parole

 11   changes to reward successful rehabilitation. CDCR is actively pursuing strategies to release

 12   parolees from their statutory parole periods as soon as is appropriate and anticipates discharging

 13   between 2,000 and 4,000 additional parolees from parole in the next twelve months.

 14   By discharging more parolees from supervision, COCR expects to experience a reduction in the

 IS   number ofparolees returned to custody for various parole violations. Further, COCR

 16   implemented a risk and needs assessment tool in each of the 33 institutions: the Correctional

 17   Offender Management Profiling for Alternative Sanctions (COMPAS). The predictive validity or

 18   COMPAS in terms of its ability to effectively identify key risk and needs factors in the parole

 19   population is currently being studied. Additionally, CDCR has undertaken extensive research

 20   into the use and effectiveness of a parole-violation decision-making matrix. This tool has been

 21   shown to improve organizational decision-making consistency, as well as help to establish a

 22   culture of determining sanctions based on policy driven rationale and then tailoring the sanction

 23   to the specific risk and needs of the parolee. When supported by evidence-based programs, slich

 24   as COMPAS, this type of matrix has been proven to playa meaningful role in the overall

      reduction of recidivism rates among the parolee population. COCR anticipates that a decision-

 26   making matrix will be ready for a pilot deployment by the end 01'2007. Once implemented, these

 27   tools will result in even more discharges from parole.

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      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
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      INTERROGATORY NO. 13:

 2            IDENTIFY any and alllockdowns or partiallockdowns, including dates and duration, that

 3    affected housing units housing PLATA CLASS MEMBERS at CDCR PRISONS since March 3,

 4    2006.

 5    RESPONSE TO INTERROGATORY NO. 13:

  6           In addition to the General Objections stated above, which are incorporated herein,

 7    DEFENDANTS object to this interrogatory on the grounds that it is vague and ambiguous as to

  8   the terms "lockdowns" and "partiallockdowns' In addition, DEFENDANTS object to this

 9    interrogatory because it is compound and calls for private andlor confidential information.

10    Subject to and without waiving the foregoing objections, DEFENDANTS respond as follows:

11            See the business records attached as Exhibit A which identify the lockdowns and partial

12    lockdowns since March 3, 2006. Exhibit A also contains CDCR policies and procedures that

 13   provide that inmates must be taken to medical appointments, and must receive appropriate

 14   medical care, when a facility is in a lockdown or partiallockdown. All of the business records

 15   produced in Exhibit A are produced pursuant to the Plata Protective Order.

16

17    DATED: November 9,2007                                      HANSON BRIDGETT MARCUS
                                                                    VLAHOS & RUDY, LLP
 18

19
                                                        By:
20                                                           - - - - -PAUL
                                                                       - -B.-MELLO
                                                                             -------
                                                                    Attorneys for DEFENDANTS
21

22    DATED: November 9, 2007                                        EDMUND G. BROWN JR.
                                                              Attorney General of the State of California
23

24
                                                        By:                        lsi
25                                                                     ROCHELLE C. EAST
                                                                Supervising Deputy Attorney General
26                                                                 Attorneys for DEFENDANTS
27

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      DEF. TILTON'S RESP. TO PLATA'S FIRST SET OF INTERROGATORIES (CASE NOS. 90-
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